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~A0245D                                                         #1327
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STATES DISTRICT COURT
                                                         Southern District of Illinois

         UNITED STATES OF AMERICA
                    v.
               CHAD AUSTIN

                                                                        Case No. 4:02CR40078-009-JPG
                                                                        USM No. 05806-025
                                                                           Neal A. Connors
                                                                                                 Defendant's Attorney
THE DEFENDANT:
rv' admitted guilt to violation of condition(s)         as alleged below                 of the tenn of supervision.
o   was found in violation of condition(s)            _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                             Violation Ended
Statutory                       The defendant committed the offense of Battery and False                     11/04/2009

                                Statements




       The defendant is sentenced as provided in pages 2 through _--,5,--_ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9988                      01/08/2010

Defendant's Year of Birth:         1979

City and State of Defendant's Residence:
McLeansboro, IL 62859
                                                                           J. Phil Gilbert                             District Judge

                                                                           \~/'" ~Nam/eand Title of Judge
                                                                             _=                       1, Z-c /O  1

                                                                                                         Date
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AO 245D                                                        #1328
          (Rev. 12/07) Judgment in a Criminal Case for Revocations
          Sheet 1A

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DEFENDANT: CHAD AUSTIN
CASE NUMBER: 4:02CR40078-009-JPG

                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                            Concluded
Standard # 9                  Defendant associated with convicted felons without permission of probation     10/30/2009



Standard # 11                 Defendant failed to notify probation of contact with law enforcement           10/30/2009



Special                       Defendant consumed alcohol while in substance abuse program                    11/05/2009
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 AO 2450       (Rev. 12/07) Judgment in a Criminal Case for Revocations #1329
               Sheet 2- Imprisonment

                                                                                                  Judgment - Page    3     of      5
 DEFENDANT: CHAD AUSTIN
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                                                            IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
8 months




      D The court makes the following recommendations to the Bureau of Prisons:




      t/ The defendant is remanded to the custody of the United States Marshal.
      D    The defendant shall surrender to the United States Marshal for this district:
          D     at   _________ D                    a.m.     D   p.m.       on
          D     as notified by the United States Marshal.

      D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D    before 2 p.m. on
           D    as notified by the United States Marshal.
          D     as notified by the Probation or Pretrial Services Office.

                                                                 RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                     to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                        By
                                                                                           DEPUTY UNITED STATES MARSHAL
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  AO 2450                                                          #1330
              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release

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  DEFENDANT: CHAD AUSTIN
  CASE NUMBER: 4:02CR40078-009-JPG
                                                             SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
52 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully p,?ssess a controlled s!lb~tance. The defendant shal,I ref~ain from an)' unlawful use of a controlled
  substance. The defendant shall submIt to one drug test wlthm 15 days of release from Impnsonment and at least two periodic drug
  tests thereafter as determined by the court.
  o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  wi The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  wi The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted ofa felony, unless granted permIssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatIOn requirement.
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 AO 2450    (Rev. 12/07) Judgment in a Criminal Case for Revocations #1331
            Sheet 3C - Supervised Release

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 DEFENDANT: CHAD AUSTIN
 CASE NUMBER: 4:02CR40078-009-JPG

                                            SPECIAL CONDITIONS OF SUPERVISION

All criminal monetary penalties, resitution and forfeiture previously imposed shall continue to remain in full force and effect.

The defendant shall refrain from any alcohol while on supervised release.

 Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential treatment facility. Any
participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
in a one year period.

 The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
search pursuant to this condition.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.
